946 F.2d 1564
    292 U.S.App.D.C. 84
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Alex HERBAGE, Appellant,v.Edwin A. MEESE, III, et al.
    No. 90-5340.
    United States Court of Appeals, District of Columbia Circuit.
    Sept. 3, 1991.
    
      Before BUCKLEY, SENTELLE and HENDERSON, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the Federal and British appellees' motions for summary affirmance and the response thereto, it is
    
    
      2
      ORDERED that the motions for summary affirmance be granted substantially for the reasons stated by the district court in its opinion filed September 20, 1990.   See Herbage v. Meese, 747 F.Supp. 60 (D.D.C.1990).   The merits of the parties' positions are so clear as to justify summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    